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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

___________________________________________
RUSSELL K. LARIBEE                          )                   CASE NO.:
     Plaintiff                              )                   3:10-CV-01882-RNC
                                            )
v.                                          )
                                            )
                                            )
                                            )
MIDLAND CREDIT MANAGEMENT, INC.;            )
MIDLAND FUNDING LLC; and ENCORE             )
CAPITAL GROUP, INC., formerly known         )
as MCM CAPITAL GROUP, INC.,                 )
     Defendant                              )
___________________________________________)                    FEBRUARY 25, 2011


                      NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A(i), the plaintiff, Russell K. Laribee,

through his attorney, hereby give notice that the claims of the above-entitled action shall

be dismissed with prejudice, and without costs or attorney’s fees.


                                     PLAINTIFF, RUSSELL K. LARIBEE



                                       By: /s/ Daniel S. Blinn
                                          Daniel S. Blinn, ct02188
                                          Matthew W. Graeber, ct27545
                                          dblinn@consumerlawgroup.com
                                          Consumer Law Group, LLC
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                                      CERTIFICATION

       I hereby certify that on this 25th day of February, 2011, a copy of foregoing
Notice of Dismissal was filed electronically and served by mail on anyone unable
to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                              /s/Daniel S. Blinn
                                              Daniel S. Blinn




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